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               EXHIBIT A
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                                  Exhibit A
  Registration Number            Title of Work               Author of Work
TX0008680299             The Breakthrough              Charles Graeber
TX0007731544             The Good Nurse: A True        Charles Graeber
                         Story of Medicine, Madness,
                         and Murder
TX0007764797             To Be A Friend Is Fatal       Kirk W. Johnson
TX0008858704             The Lost Night: A Novel       Andrea Bartz
